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Iii   MatthewHeimbach 2017-07-08 04:52 35 Q. ,§>


Reminder to all comrades in the area. We will be holding a Nationalist Front meeting , TWP and allies, in Ocoee TN this weekend on Saturday at 1pm at the famous Whitewater
Grill
The add ress is 1224 US-64, Ocoee, T N 37361
T he purpose of the meeting is to plan for the upcoming C harlottesville event carpool, plan for future events , network, and do a flash demo.
Come meet g reat comrades and let's make some historyl
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        our official TWP riot shields a rrived
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    also a dozen helmets thatll be painted black w ith Party insig nia's on them
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ii   MatthewHeimbach 2017-07-30 004920 Q. &

ltll be solid, alongside our leag ue of the south and vanguard america allies, we'll have an unbreakab le line
